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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                     Case No. 94-81259-5

DARRELL ATKINS,

               Defendant.
                                                   /

          ORDER DIRECTING DEFENSE COUNSEL TO FILE A STATEMENT
                          REGARDING ELIGIBILITY

         The matter is before the court on a determination for a possible reduction of

sentence pursuant to 18 U.S.C. § 3582(c)(2). The court appointed the Federal

Defender’s Office “to determine eligibility, confer with the Probation Department and the

U.S. Attorney’s Office, and gather the pertinent information to assist the court in

expeditiously resolving any pending or intended 18 U.S.C. § 3582(c) motions.” (1/26/09

Order at 1.) To date, nothing has been submitted to the court by defense counsel.

Accordingly,

         IT IS ORDERED that defense counsel is DIRECTED to file by July 15, 2009, a

statement indicating whether Defendant is eligible for a sentence modification pursuant

to 18 U.S.C. § 3582(c).


                                            s/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE

Dated: June 22, 2009
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, June 22, 2009, by electronic and/or ordinary mail.

                                                             s/Lisa Wagner
                                                            Case Manager and Deputy Clerk
                                                            (313) 234-5522




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